January 24, 2024

Office of the Clerk
U.S. Court of Appeals for the Seventh Circuit
219 S. Dearborn St., Rm. 2722
Chicago, Illinois 60604

       Re:      K.C., et al. v. Individual Members of Med. Licensing Bd. of Ind., et al.
                No. 23-2366; Rule 28(j) Notice

Dear Clerk:

This appeal concerns whether the district court properly issued a preliminary injunction
against the enforcement of Indiana Senate Enrolled Act 480 (2023), which generally
prohibits the provision of certain forms of gender-affirming care to Hoosier minors
diagnosed with gender dysphoria. Oral argument is scheduled for February 16, 2024.
Pursuant to Rule 28(j) of the Federal Rules of Appellate Procedure, I write to inform the
Court of a recent development in the district court.

In relevant part, the appellants contend that the district court “erred in awarding relief to
nonparties” by prohibiting the enforcement of S.E.A. 480 “against ‘any provider, as to
any minor,’ without certifying a class.” (Br. of Appellants 51). For the reasons described
previously (see Br. of Appellees 48-51), this argument is erroneous. Nonetheless, on
January 23, 2024, the district court issued its Order Granting Motion for Class
Certification, in which it certified three plaintiff classes and two plaintiff subclasses
pursuant to Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure. I attach a copy
of the district court’s order.

As certified by the district court, Class 1 (“the Minor Patient Class”) consists of minors
“who are, or will be, diagnosed with gender dysphoria, and are receiving, or would
receive but for Senate Enrolled Act 480, care that falls within the statute’s definition of
‘gender transition procedures.’” (S.D. Ind. Dkt. 116 at 5). Class 2 (“the Parent Class”)
consists of the parents of these minors. (Id.). And Class 3 (“the Provider Class”) consists
of “all current physicians and practitioners in Indiana, as those terms are defined in
Senate Enrolled Act 480, who are providing care that falls within the statute’s definition
of ‘gender transition procedures’ or who, but for the Act, would provide that care.” (Id.).



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2|Page

The certification of these plaintiff classes may affect this Court’s consideration of the
appellants’ argument concerning the scope of the preliminary injunction issued by the
district court.

Thank you very much.

Very truly yours,

/s/ Gavin M. Rose

Gavin M. Rose
Attorney at Law

Cc:   Counsel of record (via CM/ECF)




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Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 1 of 17 PageID #: 4787




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  K. C. et al.                                   )
                                                 )
                             Plaintiffs,         )
                                                 )
                        v.                       )    No. 1:23-cv-00595-JPH-KMB
                                                 )
  THE INDIVIDUAL MEMBERS OF THE                  )
  MEDICAL LICENSING BOARD OF                     )
  INDIANA in their official capacities, et al.   )
                                                 )
                             Defendants.         )

            ORDER GRANTING MOTION FOR CLASS CERTIFICATION

         Indiana Senate Enrolled Act 480 would prohibit physicians and other

  practitioners from knowingly providing gender transition procedures to a

  minor, and from aiding or abetting another physician or practitioner in the

  provision of gender transition procedures to a minor. Gender transition

  procedures banned by S.E.A. 480 include the use of puberty-blocking drugs,

  cross-sex hormone therapy, and gender reassignment surgery. 1 Plaintiffs—

  four minor children, many of their parents, and a doctor and her family

  medical practice—allege that S.E.A. 480 violates the United States Constitution

  and other federal laws. The Court has granted a preliminary injunction

  prohibiting Defendants—who are various State officials—from enforcing S.E.A.

  480's prohibitions on (1) providing gender transition procedures for minors



  1 Based on the parties' stipulation that in Indiana no "provider performs gender-

  transition surgery on persons under the age of 18," dkt. 51 at 4, the Court previously
  held that Plaintiffs lack standing to challenge S.E.A. 480's prohibition of that
  procedure, and therefore did not enjoin its enforcement. Dkt. 67 at 13–15.
                                             1
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 2 of 17 PageID #: 4788




  except gender reassignment surgery and (2) speech that would aid or abet

  gender transition procedures for minors. Dkt. 67; dkt. 68.

        Plaintiffs have filed a motion to certify this case as a class action,

  proposing three Classes and two Subclasses of minor patients, parents, and

  medical providers. Dkt. [10]. For the reasons below, that motion is GRANTED,

  and the proposed Classes and Subclasses are certified.

                                         I.
                               Facts and Background

        In early 2023, the Indiana General Assembly passed S.E.A. 480, and

  Governor Holcomb signed it into law. S.E.A. 480 (codified at Ind. Code §§ 25-1-

  22-1 et seq. (eff. July 1, 2023)). S.E.A. 480 prohibits physicians and other

  medical practitioners from "knowingly provid[ing] gender transition procedures

  to a minor." Id. § 13(a). The prohibited "gender transition procedures" include

  "any medical or surgical service . . . that seeks to: (1) alter or remove physical

  or anatomical characteristics or features that are typical for the individual's

  sex; or (2) instill or create physiological or anatomical characteristics that are

  different from the individual's sex." Id. § 5(a). Medical services prohibited

  under S.E.A. 480 can thus include "medical services that provide puberty

  blocking drugs [and] gender transition hormone therapy." Id. § 5(a)(2).

  Physicians and other medical practitioners are further prohibited from "aid[ing]

  or abet[ting] another physician or practitioner in the provision of" prohibited

  gender transition procedures to a minor. Id. § 13(b).

        Plaintiffs K.C., M.W., A.M., and M.R. are all minors who have been

  diagnosed with gender dysphoria and are receiving medical treatment. Dkt. 51.

                                           2
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 3 of 17 PageID #: 4789




  Plaintiff Dr. Catherine Bast is a board-certified family-practice physician at

  Mosaic Health and Healing Arts in Goshen, Indiana. Id. at 11–12. As of April

  2023, Mosaic treated 72 minor patients who are diagnosed with gender

  dysphoria and are prescribed puberty blockers and/or hormones as treatment.

  Id. at 12.

        Plaintiffs brought this action in April 2023, alleging that S.E.A. 480's

  restrictions violate (1) the minor plaintiffs' Fourteenth Amendment equal

  protection rights, (2) the parent plaintiffs' "fundamental rights protected by due

  process" under the Fourteenth Amendment, (3) the medical-provider plaintiffs'

  First Amendment speech rights, and (4) Medicaid provisions in 42 U.S.C. §§

  18116 and 1396d(a). Dkt. 1 at 42–45. Plaintiffs filed a motion for a

  preliminary injunction under Federal Rule of Civil Procedure 65, requesting

  that the Court "prohibit[ ] the enforcement of" S.E.A. 480. Dkt. 9. In June

  2023, the Court granted that motion in large part, preliminarily enjoining

  Defendants from enforcing S.E.A. 480's prohibitions on (1) providing gender

  transition procedures for minors except gender reassignment surgery and (2)

  speech that would aid or abet gender transition procedures for minors. Dkt.

  67; dkt. 68. A bench trial is scheduled to begin on November 4, 2024. Dkt.

  94.

        Plaintiffs have moved for class certification, proposing three Classes and

  two Subclasses of minor patients, parents, and medical providers. Dkt. 10;

  dkt. 105 at 2–3. Defendants oppose class certification. See dkt. 106.




                                          3
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 4 of 17 PageID #: 4790




                                          II.
                                    Applicable Law

        Class actions were designed as "an exception to the usual rule that

  litigation is conducted by and on behalf of the individual named parties only."

  Gen. Tel. Co. of the S.W. v. Falcon, 457 U.S. 147, 155 (1982). "Federal Rule of

  Civil Procedure 23 governs class actions." Santiago v. City of Chicago, 19 F.4th

  1010, 1016 (7th Cir. 2021). "Rule 23 gives the district courts broad discretion

  to determine whether certification of a class-action lawsuit is appropriate,"

  Arreola v. Godinez, 546 F.3d 788, 794 (7th Cir. 2008), and "provides a one-size-

  fits-all formula for deciding the class-action question," Shady Grove Orthopedic

  Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 399 (2010).

         "Rule 23(a) enumerates four—and only four—requirements for class

  certification: numerosity, commonality, typicality, and adequacy of

  representation." Simpson v. Dart, 23 F.4th 706, 711 (7th Cir. 2022). In

  addition to those "prerequisites," the class must fit one of Rule 23(b)'s

  "particular types of classes, which have different criteria." Santiago, 19 F.4th

  at 1016. "A class may only be certified if the trial court is satisfied, after a

  rigorous analysis, that the prerequisites for class certification have been met."

  Id.

                                          III.
                                        Analysis

        A. Proposed Classes and Subclasses

        Plaintiffs seek certification of three Classes and two Subclasses:




                                            4
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 5 of 17 PageID #: 4791




        1) Class 1 ("the Minor Patient Class"), which is represented by K.C.,
           M.W., A.M., and M.R., is defined as "all minors in the State of Indiana
           who are, or will be, diagnosed with gender dysphoria, and are
           receiving, or would receive but for Senate Enrolled Act 480, care that
           falls within the statute's definition of 'gender transition procedures.'"

              a) Subclass 1-A ("the Medicaid Patient Subclass"), which is a
                 subclass of the Minor Patient Class and is represented by A.M,
                 is defined as "all members of Class 1 who are, or will be,
                 Medicaid recipients."

        2) Class 2 ("the Parent Class"), which is represented by Nathaniel and
           Beth Clawson, Ryan and Lisa Welch, Emily Morris, and Maria Rivera,
           is defined as "all parents of minors in the State of Indiana who are, or
           will be, diagnosed with gender dysphoria, and are receiving, or would
           receive but for Senate Enrolled Act 480, care that falls within the
           statute's definition of 'gender transition procedures.'"

        3) Class 3 ("the Provider Class"), which is represented by Dr. Catherine
           Bast and Mosaic Health and Healing Arts, Inc. ("Mosaic"), is defined
           as "all current physicians and practitioners in Indiana, as those terms
           are defined in Senate Enrolled Act 480, who are providing care that
           falls within the statute's definition of 'gender transition procedures' or
           who, but for the Act, would provide that care."

              a) Subclass 3-A ("the Medicaid Provider Subclass"), which is also
                 represented by Dr. Bast and Mosaic, is defined as "all members
                 of Class 3 who are Medicaid providers and who are currently
                 providing care, reimbursed by Medicaid, which falls within the
                 definition in Senate Enrolled Act 480 of 'gender transition
                 procedures' and those providers in the future who would
                 provide such care but for Senate Enrolled Act 480."

  Dkt. 105 at 2–3. Defendants do not object to these definitions but argue that

  class certification is inappropriate under Rule 23. See dkt. 106 at 1–3.

        "The party seeking certification bears the burden of demonstrating . . . by

  a preponderance of the evidence" that each of Rule 23's requirements is


                                          5
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 6 of 17 PageID #: 4792




  satisfied. Santiago, 19 F.4th at 1016. Here, Plaintiffs seek certification under

  Rule 23(b)(2), dkt. 10 at 1; dkt. 105 at 4, which requires that "the party

  opposing the class has acted or refused to act on grounds that apply generally

  to the class, so that final injunctive relief or corresponding declaratory relief is

  appropriate respecting the class as a whole." Fed. R. Civ. P. 23(b)(2).

        B. Rule 23(a) Requirements

                  1. Numerosity

        To satisfy the numerosity requirement, the proposed class must be "so

  numerous that joinder of all members is impracticable." Fed. R. Civ. P.

  23(a)(1). Here, Plaintiffs have designated evidence indicating that each Class

  and Subclass has more than forty members, including the Minor Patient Class

  with hundreds of members. Dkt. 105 at 4–10; see Mulvania v. Sheriff of Rock

  Island Cty., 850 F.3d 849, 860 (7th Cir. 2017) ("While there is no magic

  number that applies to every case, a forty-member class is often regarded as

  sufficient to meet the numerosity requirement."). Defendants do not dispute

  that evidence. Dkt. 234 at 3–5. They instead argue that numerosity is not

  satisfied for the Provider Class and its Medicaid Provider Subclass because

  those class members could all be joined as parties. Dkt. 106 at 6.

        "While 'impracticable' does not mean 'impossible,' a class representative

  must show that it is extremely difficult or inconvenient to join all the members

  of the class." Anderson v. Weinert Enters., Inc., 986 F.3d 773, 777 (7th Cir.

  2021). That standard is satisfied here. The Provider Class and Medicaid

  Provider Subclass contain roughly fifty members who work for several different


                                            6
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 7 of 17 PageID #: 4793




  organizations across Indiana. See dkt. 105 at 7; Anderson, 986 F.3d at 778

  ("Our reasoning does not require a plaintiff to identify the exact number of

  class members at the certification stage."). That Class and Subclass are

  therefore each currently large enough to make the joinder of all members

  extremely inconvenient. Moreover, anyone who later begins providing "gender

  transition procedures" would also meet the class definition, and it would be

  impracticable to join those providers as this suit progresses. See Lindh v. Fed.

  Corr. Inst., Terre Haute, Ind., No. 2:14-cv-142-JMS-WGH, 2014 WL 7334745 at

  *3 (S.D. Ind. Dec. 19, 2014) ("[T]he joinder of [future class members], regardless

  of the number, is inherently impracticable."); A.B. v. Hawaii State Dept. of

  Education, 30 F.4th 828, 838 (9th Cir. 2022) ("[W]hen, as here, a class's

  membership changes continually over time, that factor weighs in favor of

  concluding that joinder of all members is impracticable.").

        Defendants nevertheless argue that the providers work for only three

  employers, so they could join this lawsuit, which would cover the providers

  unless they also provide care independently of their employers. Dkt. 106 at 4.

  But Defendants cite no support for using proposed class members' employers

  as a proxy for the class members themselves under Rule 23. See id. Moreover,

  S.E.A. 480 covers "physicians" and "other practitioners"—not entities—so

  S.E.A. 480 does not directly regulate those employers and they are not class

  members. Rule 23 requires that "the class" be so numerous that joinder "of all

  members" is impracticable, without offering an exception if their rights could be

  litigated in other ways, such as through an employer. Fed. R. Civ. P. 23(a)(1).

                                          7
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 8 of 17 PageID #: 4794




  Defendants' argument, based on the fact that there are only a few entities that

  employ all current members of the Provider Class and Medicaid Provider

  Subclass, does not make certification improper.

        The Provider Class and Medicaid Provider Subclass therefore satisfy the

  numerosity requirement. The same is true for the other Classes and

  Subclasses, which are larger and for which Defendants do not contest

  numerosity. See dkt. 234 at 3–5.

                  2. Commonality and Typicality

        To satisfy the commonality requirement, there must "be one or more

  common questions of law or fact that are capable of class-wide resolution and

  are central to the claims' validity." Beaton v. SpeedyPC Software, 907 F.3d

  1018, 1026 (7th Cir. 2018). And to satisfy the typicality requirement, "'the

  claims or defenses of the representative party [must] be typical of the claims or

  defenses of the class.'" Muro v. Target Corp., 580 F.3d 485, 492 (7th Cir. 2009).

  "A claim is typical if it 'arises from the same event or practice or course of

  conduct that gives rise to the claims of other class members and . . . [the]

  claims are based on the same legal theory.'" Oshana v. Coca-Cola Co., 472 F.3d

  506, 514 (7th Cir. 2006). "[T]he typicality requirement may be satisfied even if

  there are factual distinctions between the claims of the named plaintiffs and

  those of other class members," but the named plaintiffs' claims should "have

  the same essential characteristics as the claims of the class at large." Muro,

  580 F.3d at 492.




                                           8
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 9 of 17 PageID #: 4795




        Plaintiffs argue that the commonality and typicality requirements are met

  because the Classes' and Subclasses' claims turn on shared constitutional

  questions. Dkt. 105 at 10–12. Defendants respond that the claims instead

  require individual considerations. Dkt. 106 at 6–7.

        Plaintiffs outline several questions of law common to the proposed

  Classes and Subclasses, including:

        •   Does S.E.A. 480 violate the minor patients' equal protection rights?
        •   Does S.E.A. 480 violate federal Medicaid law and the Affordable Care
            Act?
        •   Does S.E.A. 480 violate the Due Process Clause's protections for
            parental rights?
        •   Does S.E.A. 480 violate medical providers' First Amendment rights?

  Dkt. 105 at 10–11.

        S.E.A. 480 is a broad statute that applies uniformly to each Class and

  Subclass, and "it is undisputed" that "the alleged discriminatory actions were

  undertaken pursuant to a uniform policy." Ross v. Gossett, 33 F.4th 433, 438

  (7th Cir. 2022). Plaintiffs have thus pleaded and litigated their constitutional

  claims uniformly, seeking the same relief on behalf of their proposed Classes

  and Subclasses, without regard to class members' individual situations. See

  McFields v. Dart, 982 F.3d 511, 515–16 (7th Cir. 2020) (assessing commonality

  "requires a precise understanding of the nature of the plaintiffs' claims"). They

  allege that S.E.A. 480 by its terms broadly violates (1) minor patients' rights by

  "discriminat[ing] on the basis of sex," (2) parents' rights by prohibiting them

  "from obtaining medically necessary medical care for their children," and (3)

  medical providers' rights by prohibiting them from "engaging in


                                          9
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 10 of 17 PageID #: 4796




   communications about medical care" and from "providing necessary medical

   care." Dkt. 1 at 41–45. The allegations therefore involve the entire Classes and

   Subclasses, without regard to individual class members' circumstances. See

   id.; see Ross, 33 F.4th at 438 ("[T]he issue as to the constitutionality of the

   policy is capable of a common answer."). And Plaintiffs' complaint and

   subsequent filings seek similarly broad relief—an injunction prohibiting

   "defendants from enforcing Senate Enrolled Act 480 and allowing plaintiffs and

   the class and subclass to proceed as if the law was not in effect." Dkt. 1 at 46;

   see dkt. 9; dkt. 27.

         There are therefore common questions central to the Classes' and

   Subclasses' claims, and a shared legal analysis will determine whether

   Plaintiffs are entitled to any of the injunctive relief they seek. See Ross, 33

   F.4th at 438–39; Red Barn Motors, Inc. v. NextGear Cap., Inc., 915 F.3d 1098,

   1102 (7th Cir. 2019) ("The proper focus of commonality is whether

   determination of the question will yield common answers that could resolve the

   litigation."). So there are, at most, "the mere 'factual distinctions' that arise in

   most any case," rather than "overwhelming factual distinctions that defeat any

   essential characteristics across the claims." McFields, 982 F.3d at 518.

         Plaintiffs' claims thus involve common questions of law and fact,

   satisfying the commonality requirement. See Beaton, 907 F.3d at 1026. And

   since the named plaintiffs' claims arise from the same statute and are "based

   on the same legal theory," typicality is also satisfied. See Lacy v. Cook County,




                                            10
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 11 of 17 PageID #: 4797




   Illinois, 897 F.3d 847, 866 (7th Cir. 2018) ("[T]he commonality and typicality . .

   . tend to merge.").

                   3. Adequacy of Representation

         To satisfy the adequacy of representation requirement, the representative

   parties must "fairly and adequately protect the interests of the class." Amchem

   Prods. Inc. v. Windsor, 521 U.S. 591, 625 (1997). "This adequate

   representation inquiry consists of two parts: (1) the adequacy of the named

   plaintiffs as representatives of the proposed class's myriad members, with their

   differing and separate interests, and (2) the adequacy of the proposed class

   counsel." Gomez v. St. Vincent Health, Inc., 649 F.3d 583, 592 (7th Cir. 2011).

         Plaintiffs have satisfied the adequacy-of-representation requirement,

   which Defendants do not challenge. See dkt. 106. Plaintiffs' interests appear

   entirely consistent with those of the other Class members—so there is no

   indication that their claims are "idiosyncratic or possibly unique." Suchanek v.

   Sturm Foods, Inc., 764 F.3d 750, 758 (7th Cir. 2014). Plaintiffs have actively

   participated in this litigation, and their counsel represent that they will

   continue to do so. Dkt. 105 at 13.

         Similarly, Plaintiffs' counsel will adequately represent the Classes and

   Subclasses. Plaintiffs are represented by ACLU attorneys Kenneth Falk, Stevie

   Pactor, Gavin Rose, Chase Strangio, and Harper Seldin. These attorneys have

   significant experience in similar cases and have done substantial work

   identifying, investigating, and pursuing Plaintiffs' claims. See dkt. 105 at 14–




                                           11
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 12 of 17 PageID #: 4798




   15. There is no indication that any counsel has interests that conflict with

   those of the proposed Classes or Subclasses.

         C. Rule 23(b)(2) Requirements

         A class may be certified under Rule 23(b)(2) if "the party opposing the

   class has acted or refused to act on grounds that apply generally to the class,

   so that final injunctive relief or corresponding declaratory relief is appropriate

   respecting the class as a whole." "The key to the (b)(2) class is the indivisible

   nature of the injunctive or declaratory remedy warranted—the notion that the

   conduct is such that it can be enjoined or declared unlawful only as to all of

   the class members or as to none of them." Wal–Mart Stores, Inc. v. Dukes, 564

   U.S. 338. 360 (2011). "In other words, Rule 23(b)(2) applies only when a single

   injunction or declaratory judgment would provide relief to each member of the

   class." Id. Accordingly, "civil rights cases against parties charged with

   unlawful, class-based discrimination are prime examples of what (b)(2) is

   meant to capture." Id. at 361.

         Plaintiffs argue that their proposed Classes and Subclasses satisfy Rule

   23(b)(2) because S.E.A. 480 applies uniformly against their members. Dkt. 107

   at 9–10. Defendants contend, however, that class certification is inappropriate

   because final relief would require individualized determinations about different

   gender transition procedures, medical providers' approaches, and each minor's

   medical situation. Dkt. 106 at 7–12.

         Here, Plaintiffs allege that S.E.A. 480 violates the entire Classes' and

   Subclasses' rights uniformly because it discriminates based on sex and


                                           12
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 13 of 17 PageID #: 4799




   transgender status, infringes fundamental parental rights, and prohibits

   speech. Dkt. 1 at 42–45. Since they challenge a generally applicable statute

   on broad grounds, "a single injunction" against its enforcement "would provide

   relief to each member of the class." Dukes, 564 U.S. at 360. And they don't

   seek monetary damages. See id. at 361–63. This case is therefore a "prime

   example" for Rule 23(b)(2) certification as a "civil rights case[ ] against parties

   charged with unlawful, class-based discrimination." Id. at 361.

         Defendants' arguments about differences between the minor patient

   class members and differences between providers' treatment protocols

   misunderstand the nature of Plaintiffs' class claims. As explained above,

   Plaintiffs are not seeking relief for each minor plaintiff individually—which

   would require individualized assessment of each treatment's benefits and risks,

   each patient's medical situation, and each provider's protocols. See dkt. 106 at

   8–12. Instead, they broadly allege that S.E.A. 480 violates the entire Classes'

   and Subclasses' rights uniformly, and therefore seek injunctive relief

   straightforwardly "enjoining defendants from enforcing Senate Enrolled Act 480

   and allowing plaintiffs and the class and subclass to proceed as if the law was

   not in effect." Dkt. 1 at 42–46.

         Similarly, it would not make class certification inappropriate even if

   Defendants are able to show that there are important differences between the

   use of puberty-blockers to treat minors with gender dysphoria and the use of

   hormones to treat minors with gender dysphoria. See dkt. 106 at 9–11. Since

   that argument broadly addresses the differences between those treatments—

                                            13
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 14 of 17 PageID #: 4800




   rather than differences in patients from the same treatment—it goes to the

   legal merits instead of the appropriateness of class certification. For example,

   if the prohibition on puberty-blocking medications violated equal protection but

   the prohibition on hormones did not, that ruling would apply equally to each

   member of the Minor Patient Class. At worst, such a distinction could be

   resolved with subclasses for patients receiving each treatment, since this

   argument does not rely on individual patients' situations. See General Tel. Co.

   of Sw. v. Falcon, 457 U.S. 147, 160 (1982); Ali v. City of Chicago, 34 F.4th 594,

   603 (7th Cir. 2022) ("[P]roposed class definitions are often narrowed or

   expanded."). 2 Rule 23(b)(2) is therefore satisfied. See Dukes, 564 U.S. 365.

         Finally, Defendants argue that class certification is inappropriate

   because S.E.A. 480 also includes a prohibition on state, county, or local

   government employees providing gender-transition procedures. See dkt. 106 at

   12–13 (citing Ind. Code § 25-1-22-14). But this argument is also too broad to

   show that classwide relief cannot be provided. If, as Plaintiffs argue, that

   provision is unconstitutional, dkt. 107 at 15–16, then any injunction would be

   unaffected. Or, if that provision remained in effect, then an injunction could (if

   appropriate on the merits) grant relief to the entire Classes and Subclasses

   regarding the remainder of S.E.A. 480 without enjoining Indiana Code § 25-1-

   22-14's prohibition. In either situation, any injunctive relief would apply to the



   2 Similar class-definition tweaks would be available, if necessary, to address any

   concerns about injunctive relief affecting S.E.A. 480's prohibition on surgical
   interventions, which Plaintiffs lack standing to challenge. See dkt. 106 at 13–16; dkt.
   67 at 13–15.
                                             14
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 15 of 17 PageID #: 4801




   class as a whole. That is all that Rule 23(b)(2) requires; success on the merits

   is a separate issue. See Dukes, 564 U.S. at 365.

         For these reasons, Defendants have not shown that the requested relief

   will require addressing individual class members' situations. Since Plaintiffs

   challenge S.E.A. 480 broadly, not as applied individually, the Court will be

   required to address the issues collectively as to the Classes and Subclasses in

   this case. See Dukes, 564 U.S. 365 ("[T]he validity of a (b)(2) class depends on

   whether final injunctive relief . . . is appropriate respecting the class as a

   whole."). If Plaintiffs are unable to show that S.E.A. 480 should be enjoined

   classwide—independently of individual circumstances—then their claims will

   simply fail on the merits. See Chi. Teachers Union, Local No. 1 v. Bd. of Ed. of

   City of Chi., 797 F.3d 426, 444–45 (7th Cir. 2015); Beaton, 907 F.3d at 1031

   ("[C]ertification is largely independent of the merits . . . and a certified class can

   go down in flames on the merits."). But that does not make certification

   inappropriate.

         In short, "[h]ere we have a proposed Rule 23(b)(2) class asking for the

   same injunction . . . for all." Chi. Teachers Union, 797 F.3d at 443 (reversing

   the denial of Rule 23(b)(2) class certification). Since Plaintiffs are litigating the

   merits of their claims on behalf of their Classes and Subclasses as a whole,

   Rule 23(b)(2) is satisfied.




                                            15
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 16 of 17 PageID #: 4802




         D. Appointment of Class Representatives & Class Counsel

         After a court certifies a Rule 23 class, the court is required to appoint

   class counsel to represent the class members. See Fed. R. Civ. P. 23(g)(1). In

   appointing class counsel, the court must consider:

                 (i) the work counsel has done in identifying or
                 investigating potential claims in the action;
                 (ii) counsel's experience in handling class actions, other
                 complex litigation, and the types of claims asserted in
                 the action;
                 (iii) counsel's knowledge of the applicable law; and
                 (iv) the resources that counsel will commit to
                 representing the class.

   Fed R. Civ. P. 23(g)(1)(A).

         For the reasons explained above and based on the Court's finding of the

   adequacy of class representatives and class counsel, the Court makes the

   following appointments:

             •   K.C., M.W., A.M., and M.R. as class representatives of Class 1, the
                 Minor Patient Class.
             •   A.M. as class representative of Subclass 1-A, the Medicaid Patient
                 Subclass
             •   Nathaniel and Beth Clawson, Ryan and Lisa Welch, Emily Morris,
                 and Maria Rivera as class representatives of Class 2, the Parent
                 Class.
             •   Dr. Catherine Bast and Mosaic as class representatives of Class 3,
                 the Provider Class.
             •   Dr. Catherine Bast and Mosaic as class representatives of Subclass
                 3-A, the Medicaid Provider Subclass.
             •   Kenneth Falk, Stevie Pactor, Gavin Rose, Chase Strangio, and
                 Harper Seldin as class counsel.




                                            16
Case 1:23-cv-00595-JPH-KMB Document 116 Filed 01/23/24 Page 17 of 17 PageID #: 4803




                                         IV.
                                      Conclusion

         Plaintiffs' motion for class certification is GRANTED. Dkt. [10].

   SO ORDERED.

   Date: 1/23/2024




   Distribution:

   All electronically registered counsel




                                           17
